                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )      Criminal No. 2:11-00002
                                                     )      Judge Trauger
                                                     )
[13] EMILY CAROL BRADLEY                             )

                                           ORDER

       It is hereby ORDERED that the continuation of the revocation proceeding scheduled for

August 15, 2014 is RESET for Friday, June 13, 2014 at 2:00 p.m. At that hearing, the court will

be considering the additional violations alleged in the Superseding Petition signed by the court

on June 3, 2014.

       It is so ORDERED.

       Enter this 4th day of June 2014.


                                             ___________________________________
                                                     ALETA A. TRAUGER
                                                   United States District Judge




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